
702 S.E.2d 62 (2010)
STATE of North Carolina
v.
Andrew Darrin RAMSEUR.
No. 388A10.
Supreme Court of North Carolina.
September 7, 2010.
Benjamin Dowling-Sender, Assistant Appellate Defender, for Andrew Darrin Ramseur.
Robert C. Montgomery, Special Deputy Attorney General, for State of N.C.

ORDER
The motions filed by defendant with this Court on 10 August 2010 are determined as follows:
1. Defendant's Motion to Dismiss Appellant's Motion Filed in this Court Under the North Carolina Racial Justice Act Without Prejudice to File a Motion Under the Racial Justice Act in Post-Conviction Proceedings If Appellant Is Not Granted Relief on Direct Appeal is DISMISSED.
2. Defendant's Motion in the Alternative to Remand to the Superior Court of Iredell County for an Evidentiary Hearing and Other Proceedings is DISMISSED.
3. Defendant's Motion for Appropriate Relief Pursuant to the Racial Justice Act is DISMISSED WITHOUT PREJUDICE.
Further proceedings in defendant's appeal before this Court are stayed until after the trial court's hearing and determination of defendant's Motion for Appropriate Relief Pursuant to the Racial Justice Act filed in Superior Court, Iredell County.
By Order of the Court in Conference, this 7th day of September 2010.
